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                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 NETLIST, INC.,                          )
                                         )
              Plaintiff,                 )
                                         )
                                             Case No. 2:21-CV-463-JRG
       vs.                               )
                                         )
                                             JURY TRIAL DEMANDED
 SAMSUNG ELECTRONICS CO., LTD.,          )
 SAMSUNG ELECTRONICS AMERICA,            )
                                             Filed Under Seal
 INC., SAMSUNG SEMICONDUCTOR,            )
 INC.,                                   )
                                         )
              Defendants.                )

             NETLIST INC.’S OPPOSITION TO DEFENDANT SAMSUNG’S
                   MOTION FOR SUMMARY JUDGMENT OF NO
                             WILLFULNESS (Dkt. 200)
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 I.     INTRODUCTION

        There is substantial evidence in the record supporting a finding of willfulness based on either

 direct knowledge or willful blindness.

 II.    RESPONSE TO SAMSUNG’S STATEMENT OF FACTS

        Numbers 1, 2, 3, 4, 5, 7, 8, 9, 11, 12, 13, and 14: disputed in light of the following:

           There is a material dispute of fact as to whether the accused products were ever

                             , and if so,                 . See Netlist’s Opp. to Dkt. 196 (Samsung MSJ).

            Netlist sent Samsung a letter                                              ; Samsung’s refusal

            to                              as of                                                 as of this

            same date. Dkt. 200 Exs. 4, 8. Moreover, Samsung could never have had licenses to

            patents (’339, ’506, ’918, and ’054) that

            There is also a dispute regarding whether the accused products are excluded from

                                      because they constitute                           See Netlist’s Opp.

            to Dkt. 237 (Samsung MSJ). In particular, the Korean Government in November 2020

            held that Samsung’s rights                     were limited to the




                                                    Ex. A at 22.

           The        Netlist provided to Samsung on November 8, 2016 listed categories of

                        including

                                    Ex. B [NL046600]. Ex. C [NL046601]. The                 indicates that

                                                                                 covered Samsung’s

                     ; U.S. Patent No. 8,874,831 (“’831 Patent”) and U.S. Patent No. 8,301,833 (“’833

            Patent”) (to which the ’918 and ’054 Patents claim priority) covered Samsung’s



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                                   ; and U.S. Patent No. 8,516,185 (“’185 Patent”) and U.S. Patent No.

           8,417,870 (“’870 Patent”) (to which the ’339 Patent claims priority) and U.S. Patent No.

           9,128,632 (“’632 Patent”) (to which the ’506 Patent claims priority) covered Samsung’s

                                 . Ex. C. The cover email forwarding this         also made clear that it

           was                                                               .   Ex. B (email entitled

                                                              stating:

                                                              ). Accused products fall within these

           categories, as admitted by Samsung. See Dkt. 196 at 20 (listing

           including                     and                                 ). Reference to          in

           the            referred to Samsung’s                            , which had been announced

           by the date of the        See Netlist’s Opp. to Dkt. 198 (Samsung MSJ). The final category

           of accused products—the “DDR5 Products”—were not released until years after

                 provided to Samsung. Samsung knew that

                                          See, e.g., Ex. D [Lee, Jung Bae Tr.] at 38:18-23 (

                                                                                               ).

                                                                                          Id. at 10:8-15,

           12:18-13:1.

          A                        to Samsung’s attorneys in the C.D. Cal. litigation listed the ’506,

           ’339, and ’060 Patents; the application that led to the ’160 Patent; and the ’833 Patent (to

           which the ’918 and ’054 Patents claim priority). Samsung offers no evidence to support

           its assertion that this document was                                            Dkt 200 at 3.

           The document was                                        . The same Samsung counsel that

           received the               was involved in licensing communications with Netlist. In

           particular, Netlist                 to Samsung’s C.D. Cal. counsel after the



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                                        and requested that Samsung                    . See Ex. E [Case No.

             8:20-cv-00993-MCS-ADS, Dkt. 0145-46 Ex. 42]. The information provided to Samsung

             counsel was communicated to Samsung as evidenced by the fact that Samsung filed a

             declaratory judgment action                         the day after the C.D. Cal. court granted

             summary judgment that the termination was effective. See Ex. F [Case No. 8:20-cv-00993-

             MCS-ADS, Dkt. 186] (granting summary judgment on October 14, 2021); Ex. F [Case No.

             1:21-cv-01453-RGA, Dkt. 1] (declaratory judgment action filed on October 15, 2021).

            Samsung’s recitation of evidence of willfulness is incomplete and mischaracterizes the

             evidence, as discussed in Section IV below.

            Samsung’s appeal to the Ninth Circuit recycles its thrice-rejected arguments and does not

             support Samsung’s alleged “maintaining” of its position. See Dkt. 85 at 2-4.

            Netlist gave Samsung notice of the allowed ’054 patent at the time of the original complaint

             and indicated                                                       . Dkt. 1 ¶ 32.

            Samsung applied a different construction in IPRs it filed on the ’060 and ’160 Patents than

             it persuaded the Court to adopt in this case. Ex. H [Case IPR2022-01428 POPR] at 1-2.

 III.    LEGAL STANDARD

         “[T]he entire willfulness determination is to be decided by the jury.” Exmark Mfg. Co. v. Briggs

 & Stratton Power Prods. Grp., LLC, 879 F.3d 1332, 1353 (Fed. Cir. 2018). “[T]he concept of ‘willfulness’

 requires a jury to find no more than deliberate or intentional infringement.” SRI Int’l, Inc. v. Cisco Sys.,

 14 F.4th 1323, 1330 (Fed. Cir. 2021) (quoting Eko Brands, LLC v. Adrian Rivera Maynez Enters., Inc.,

 946 F.3d 1367, 1378 (Fed. Cir. 2020)). “To eliminate the confusion created by [the Federal Circuit’s]

 reference to the language ‘wanton, malicious, and bad-faith’ in Halo, [it] clarify[ies] that it was not [its]

 intent to create a heightened requirement for willful infringement.” SRI, 14 F.4th at 1329-30.

         “Determination of willfulness is made on consideration of the totality of the circumstances


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 and may include contributions of several factors[.]” Knorr-Bremse Systeme Fuer Nutzfahrzeuge GmbH v.

 Dana Corp., 383 F.3d 1337, 1342-43 (Fed. Cir. 2004) (internal citation omitted). As a matter of law, a

 patentee can show deliberate or intentional infringement by “showing actual knowledge or willful

 blindness” of the patents. Imperium IP Holdings (Cayman), Ltd. v. Samsung Elecs. Co., 259 F.Supp.3d 530,

 545 (E.D. Tex. 2017) (citing Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011)), rev’d on

 other grounds, 757 F. App’x 974 (Fed. Cir. 2019). The Federal Circuit has confirmed that knowledge of

 the patent is not necessary to support a finding of willful infringement where an accused infringer

 ignores a risk of infringement so obvious that it should have been known. WCM Indus., Inc. v. IPS

 Corp., 721 F. App’x 959, 970 (Fed. Cir. 2018) (rejecting that “a party cannot be found to have ‘willfully’

 infringed a patent of which the party had no knowledge” and upholding finding that “risk of

 infringement that was either known or so obvious that it should have been known” where accused

 infringer was aware that patent holder had indicated its products were “patent pending”).1 A jury may

 also reasonably find “knowledge of the patents” based on “circumstantial evidence.” Enplas Display

 Device Corp. v. Seoul Semiconductor Co., 909 F.3d 398, 408 (Fed. Cir. 2018).

         An alleged “good-faith belief” in invalidity or non-infringement at most raises a question of

 fact for the jury and is not a basis for summary judgment of no willfulness. Smith & Nephew Inc. v.

 Arthrex, Inc, 603 F. App’x 981, 990 (Fed. Cir. 2015) (rejecting that “a good-faith belief in non-

 infringement negates the required knowledge” because “a good-faith belief presents a factual

 question”); Commil USA, LLC v. Cisco Sys., Inc., 720 F.3d 1361, 1368-69 (Fed. Cir. 2013) (same). “[T]he

 ability of the infringer to muster a reasonable (even though unsuccessful) defense at trial” cannot



 1
  Courts have recognized that WCM “cast[s] significant doubt” on the line of district court cases
 holding “neither general knowledge of a patent portfolio nor actual knowledge of a patent
 application or of related patents, without more, is sufficient.” SiOnyx, LLC v. Hamamatsu Photonics
 K.K., 330 F. Supp. 3d 574, 609 (D. Mass. 2018); Dentsply Sirona, Inc. v. Edge Endo, LLC, 2019 WL
 1517584, at *4 (D.N.M. April 8, 2019) (“Cases such as SiOnyx and WCM Industries, which were
 decided with the benefit of Halo’s guidance, are more persuasive than Vasudevan.”).


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 negate willfulness. Halo Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. 93, 105 (2016).

 IV.        ARGUMENT

            A.     Substantial Evidence Exists Of Samsung’s Knowledge And Any Failure Of
                   Knowledge Is Due to Samsung’s Willful Blindness To Netlist’s Intellectual
                   Property Rights

            The history of communications between the parties and disclosures related to the patented

 technology is too lengthy to fully describe in this opposition. The following summary of key

 disclosures related to each of the asserted patents is more than sufficient to support a finding of

 willfulness. The six asserted patents are part of three patent families, which are addressed in turn.

            The ’060 and ’160 Patents are part of the same patent family and cover Samsung’s High

 Bandwidth Memory (HBM) modules. The application that resulted in the ’060 Patent was published

 in 2012. Ex. I [US2012/0106228A1]. Netlist



            On November 8, 2016, Netlist                                           ncluding

                                            which specifically                                        . Exs. B,

 C. The          indicated that the ’060 Patent                                      . Ex. C. Samsung refers

 to the products accused of infringing the ’060 and ’160 Patents as                                 Dkt. 196 at

 20; Ex. J [Kim, Jihwan Tr.] at 16:6-13 (

                                                                                         ). Samsung’s argument

 that the                     Samsung does not include                                           is an argument

 it can make to the jury. Samsung’s first                      was known as                 in the market place.

 Netlist will establish that all of Samsung’s                    share a common set of infringing features.

 See, e.g., Ex. K [Brogioli Opening Report] ¶ 85; Dkt. 119-01 Ex. 11 (

       ); see also Sealant Sys. Int’l, Inc. v. TEK Glob., 2012 WL 13662, at *3 (N.D. Cal. Jan. 4, 2012) (denying

 motion to dismiss claim of willful infringement and stating “[n]or has the court found any case



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 suggesting           that           a willful infringement         claim         must     include       allegations

 regarding notice of specific products”).

         Netlist repeatedly disclosed information related to the ’060 and ’160 Patents to Samsung. For

 example, in April 2015, as part of a                                             Netlist and Samsung’s proposed

 collaboration, Netlist disclosed to Samsung that

                                                                 Ex. L [SAM-NET00430675] at 48 (

                                               ). As another example, in 2015, Netlist provided Samsung with

                      describing             the    key       features       of                         Ex.      M

 [NETLIST_SAMSUNG_EDTX00190488] at 1; Ex. N [NETLIST_SAMSUNG_EDTX00190485]

 (                                                                                   Former Netlist engineer Hyun

 Lee testified that

                                                                                          Ex. O [Lee, Hyun Tr.] at

 71:23-72:3, 187:23-189:7.

         The ’918 and ’054 Patents are part of the same patent family and cover on-module power

 management, a feature that is                                                                             . Ex. P

 [Mangione-Smith Opening Report Ex. B] ¶¶ 69, 78. These patents were granted on May 5, 2021 and

 January 25, 2022, respectively. Exs. Q, R [’918 and ’054 Patents, respectively]. Netlist specifically

 identified family members of the asserted ’918 and ’054 Patents to Samsung. In April 2015, Netlist

 disclosed the ’831 and ’833 Patents (to which the ’918 and ’054 Patents claim priority). Ex. L at 50

                                                                     . The               identified these patents as

                             . Id.

                                     ). The

                                         ,                                    . Ex. D at 10:8-15, 12:18-13:1 (Lee,

 Jung Bae). It is this on-module power management that is the subject of the ’918 and ’054 Patents.



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         In addition to notifying Samsung of specific patents in this patent family, Netlist repeatedly

 provided Samsung with notice that it had patents covering on-module power as claimed in the ’918

 and ’054 Patents and implemented in the accused products. For example, in 2014, Netlist informed

 Samsung that Netlist

                                                                                        Ex. S [SAM-

 NET00431430] at 28. Samsung has admitted that                                                     Ex.

 D at 10:8-15, 12:18-13:1 (Lee, Jung Bae).

         As another example, the         Netlist provided to Samsung in 2016 included the ’831 and ’833

 Patents (to which the ’918 and ’054 Patents claim priority). Exs. B, C. The       indicated that these

 relatives of the ’918 and ’054 patents                                   . Id. At the time of this

               Samsung knew that

                 See, e.g., Ex. D at 38:18-23 (Lee, Jung Bae) (

                                                         ). Subsequent to this                Samsung

 launched                                Ex. T [Kennedy Opening Report] ¶ 500. The accused

                                                                                         Ex. U [SAM-

 NET00332995] at 13; Ex. V [Lee, Hun Joo Tr.] at 15:13-16:2, 16:11-17:8 (

                                                                                     Ex. D at 10:13-15

 (Lee, Jung Bae)

         Samsung was aware of Netlist’s patented innovation in on-board power management, and



            Ex. W [NL007910] at 1 (

                                                                                                Ex. X

 [Milton, Scott Tr.] at 241:24-242:9 (




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         Further, Netlist disclosed relatives of the ’918 and ’054 Patents             . On February 27,

 2015, Netlist

                                                     including for the ’831 and ’833 Patents (to which

 the ’918 and ’054 Patents claim priority). Ex. Y [NETLIST_SAMUNG_EDTX00022080] at 19, 21.

 On August 7, 2018, Netlist                                   for the same patents after agreeing to



                                                                                                  Ex. Z

 [NETLIST_SAMSUNG_EDTX00022012] at 31, 33. Samsung                      on each of the

 that Netlist

                                See, e.g., Ex. AA [Park, Sung Joo Tr.] at 92:15-19 (

                                                               ). The                    is the

 that                                                               that Samsung claims it implements.

 Ex. AB [McAlexander, Joseph Tr.] at 223:23-224:9.

         Samsung engineer Indong Kim testified that



 Ex. AC [Kim, Indong Tr.] at 55:6-57:9, 60:17-61:5. Mr. Kim confirmed that



                            .   The                            included the



         The ’506 and ’339 Patents cover Samsung’s DDR4 LRDIMMs. These patents granted on

 December 8, 2020 and March 16, 2021, respectively.            Exs. AD, AE [’506 and ’339 Patents,

 respectively]. Netlist specifically identified to Samsung family members of the asserted ’506 and ’339

 Patents and provided Samsung with notice that these patents covered the LRDIMM designs in the

 ’506 and ’339 Patents and implemented in the accused products.



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          For example, on September 16, 2010, Netlist disclosed a                           at a

             attended by Samsung. Ex. AA (Park, Sung Joo) (                                             );

 Ex. AF [SAM-NET00074543] at 1 (                                 ); id. at 12 (

                                                    9). This            discussed LRDIMM and DDR4

 designs. Ex. AB at 201:20-203:7 (McAlexander).

          As another example, in a 2014               Netlist told Samsung that that it

                                                                                          and another in

                                 Ex. AG [NETLIST_SAMUNG_EDTX00034451] at 3.

          As another example, in April 2015, Netlist made a                            that included the

 patent numbers for family members of the ’339 Patent and stated that the

                                                                      Ex. AH [NL107806] at 3-4 (

                                                                           ). That same month, Netlist

 separately             to Samsung and        the parents of the ’339 Patent as covering LRDIMM. Ex.

 L at 43 (                                                                                         ).

          Samsung engineer Indong Kim



                           Ex. AC at 58:25-59:13; 60:17-61:5 (

                                                                                       ); see also Ex. AI

 [NL107763] at 1 (

                                                                                    Ex. AJ [NL107769]

 at 3 (



 Ex. A at 3.

          As another example, the        Netlist provided to Samsung in 2016 included the ’185 and ’870



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 Patents, to which the ’339 Patent claim priority and the ’632 Patent, to which the ’506 Patent claims

 priority. Exs. B, C. The           indicated that these relatives of the ’918 and ’054 patents cover

                       Id.

         As another example, in August 2021 Netlist disclosed a

         in the C.D. Cal. case. Dkt. 200 Ex. 6. The same Samsung counsel was involved in

                               . In particular, Netlist sent a letter to Samsung’s C.D Cal. counsel after

                                        0 and requested that Samsung                   . See Ex. E. The

 information provided to                       was                              as evidenced by the fact

 that Samsung filed a declaratory judgment action based on              the day after the C.D. Cal. court

 granted summary judgment that the termination was effective. See Ex. F (granting summary judgment

 on October 14, 2021); Ex. G (declaratory judgment action filed on October 15, 2021).

         Despite the extensive evidence described above, Samsung seeks summary judgment of no

 willfulness based on mischaracterization of the law.

         First, Samsung argues that a finding for willful infringement requires both “knowledge of the

 asserted patents” and “deliberate or intentional infringement.” Dkt. 200 at 5-6. The cases relied on

 by Samsung make clear that willful infringement may be found based on willful blindness, i.e., where

 “the risk of infringement [is] . . . so obvious that it should have been known to the accused infringer.”

 Intell. Ventures II LLC v. Sprint Spectrum, L.P., 2019 WL 1987172, at *1 (E.D. Tex. Apr. 12, 2019)

 (quoting In re Seagate Tech., LLC, 497 F.3d 1360, 1371 (Fed. Cir. 2007) (en banc)), report and

 recommendation adopted, 2019 WL 1979866 (E.D. Tex. May 3, 2019).

         The cases cited by Samsung are inapposite. In Bayer Healthcare LLC v. Baxalta Inc., “there was

 no dispute that . . . Bayer merely ‘assume[d] that [Baxalta] knew Adynovate infringed.’” 989 F.3d 964,

 987 (Fed. Cir. 2021). The District Court had construed the claims to require “a polypeptide conjugate

 where conjugation was not random,” and no evidence was submitted at trial evidencing knowledge or



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 willful blindness to the fact that “conjugation was not random” in the accused products. Id. at 971-

 72. Unlike in Bayer, there is substantial evidence that (1) Netlist identified the specific innovative

 features to Samsung and (2) Samsung knew that it was incorporating these very features into its

 products. See supra § II.A. In BASF Plant Science, the patentee “identifie[d] only two facts as creating a

 triable issue of willfulness.” BASF Plant Sci., LP v. Commonwealth Sci. & Indus. Rsch. Org., 28 F.4th 1247,

 1274 (Fed. Cir. 2022). The first was “that certain BASF witnesses were aware and kept track of CSIRO

 patents” generally. Id. The second was that the accused infringers’ alleged defense arose after litigation

 started, where litigation started between the parties before the patents at issue had granted, which

 logically “cannot be significant.” Id. The evidence in BASF Plant Science has no comparison to the

 evidence of willfulness discussed above.

         Second, Samsung asserts that “knowledge of patents in the same family or portfolio is

 insufficient” to support a finding of willfulness. Dkt. 22 at 7. The cited cases do not support

 Samsung’s position. Samsung does not allege or cite any support to suggest that knowledge of patents

 in the same family is not relevant to the totality of circumstances inquiry for willfulness. Whether a

 fact on its own is “insufficient” for a finding of willfulness is of no moment. Further, this Court has

 found that knowledge of familial patents can support a finding of willfulness. Order at 4-6, Arthrex,

 Inc. v. Smith & Nephew, Inc., No. 15-cv-1047-RSP, Dkt. 275 (E.D. Tex. Nov. 29, 2016) (“A reasonable

 juror could conclude that the scope of notice [regarding a parent patent] . . . expanded to include

 notice of infringement of the ’541 patent after the ’541 patent issued.”). In WCM, the Federal Circuit

 upheld a jury verdict of willful infringement absent direct evidence of knowledge of the patents-in-

 suit, based in part on evidence that the accused infringers had knowledge of a “patent pending.” 721

 F. App’x at 970. Here, knowledge of patents in the same family is tantamount to knowledge of patent

 pending. Netlist’s notices to Samsung included parent and children patents, indicating that Netlist

 pursues continuation patents, and Samsung itself is familiar with the practices of continuation patents



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 from its large portfolio of families of patents. See, e.g., SynQor, Inc. v. Artesyn Techs., Inc., 2011 WL

 3624957, at *4 (E.D. Tex. Aug. 17, 2011), aff’d, 709 F.3d 1365 (Fed. Cir. 2013) (holding that a “jury

 could reasonably conclude that [defendant] . . . learned of the [continuation] patent once it issued”

 based on evidence that “continuation patents are common” and those in the industry “would have

 recognized that a continuation application could potentially be filed” on the parent patent.).

         The cases cited by Samsung regarding knowledge of patents in the same family are inapposite.

 In Intellectual Ventures, this Court found knowledge of unasserted patents “insufficient” because

 “Plaintiff had not shown a sufficient nexus with the patent-in-suit.” Intell. Ventures II, 2019 WL

 1987172, at *2. Here, extensive evidence—discussed in detail below—establishes a nexus between

 the patents to which Samsung had knowledge and the patents-in-suit

         In Dali Wireless, the court found that allegations in a complaint were insufficient where the

 “allegations merely assert that Corning had general knowledge of Dali’s patent portfolio or

 technologies” and provided “conclusory statements [] unsupported by specific allegations.” Dali

 Wireless, Inc. v. Corning Optical Commc’ns LLC, 2022 WL 16701926, at *4-5 (N.D. Cal. Nov. 3, 2022). .

         Further, Samsung’s motion admits that

                                                     Dkt. 200 at 7. Samsung allegedly has a practice of

                                                                                                         .

 Ex. AA at 42:9-43:16, 44:2-8 (Park, Sung Joo). Samsung knew or should have known that

                                                                                                         .

 Ex.

                                              ; Ex. AL [Gillingham Report] ¶ 24.

         Third, Samsung argues that it “necessarily lacked the requisite knowledge that the accused

 products infringe” due to an alleged license defense. Dkt. 200 at 8-9. The lone cited case makes clear

 that the defendant must first “prove its license defense by a preponderance of the evidence” and



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 “[o]nce the defendant has met its burden, summary judgment is appropriate if the patentee is unable

 to set forth specific facts as to why the license should not apply.” FireBlok IP Holdings, LLC v. Hilti,

 Inc., 2020 WL 1899620, at *3 (E.D. Tex. Jan. 20, 2020). As explained in Netlist’s opposition to

 Samsung’s Motion for Summary Judgement regarding the JDLA (Dkt. 196), Samsung has not met its

 burden, the accused products are not licensed because the license has been validly terminated

                                                                      To the extent Samsung claims it had a

 license after this date, a jury could find it was not in good faith. Moreover, a jury could find that

 Samsung did not have a good faith belief it had a license before this date. Samsung

                                              Under New York law, this relieved Netlist of performance.

 Samsung received                                                                      . Ex. AM [2021-08-

 16_#0145-45 Ex. 41]. And on April 1, 2020, the Korean government held that

                                                                       Ex. A at 11.

         B.       Substantial Evidence Exists Of Samsung’s Continued Willful Infringement
                  After The Complaint

         “It is well-settled, at least in this District, that post-conduct behavior can establish willful

 infringement.” Packet Intel. LLC v. NetScout Sys., Inc., 2019 WL 2375218, at *8 (E.D. Tex. June 5, 2019)

 (emphasis in original), aff’d in relevant part, 965 F.3d 1299 (Fed. Cir. 2020). A jury is “entitled to consider

 [defendants] decision to continue selling the Accused Products in its willfulness calculation.” Id.

         After Netlist filed the complaint in this case on December 20, 2021, Samsung continued to

 release new versions of the accused products with the same infringing features. For example, Samsung

 has released                                                     since the complaint was filed. Ex. AN

 (

                                                     ) at 7-9. As another example, Samsung did not release

 its                    until approximately June, 2022. Ex.

          ]. Samsung did not oppose Netlist’s amending of its infringement contentions in August 2022


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 to                                                              Ex. AP [August 12, 2022 Tezyan

 email to Counsel].

        Samsung’s release of new infringing products, given its knowledge of the expert opinions

 regarding the similarity between the accused products and asserted claims, at a minimum evidences

 that Samsung is ignoring a known risk of infringement.




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 Dated: February 17, 2023             Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

        I hereby certify that, on February 17, 2023, a copy of the foregoing was served to all counsel

 of record.

                                                          /s/ Yanan Zhao
                                                          Yanan Zhao


              CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

        I hereby certify that the foregoing document and exhibits attached hereto are authorized to be

 filed under seal pursuant to the Protective Order entered in this Case.

                                                          /s/ Yanan Zhao
                                                          Yanan Zhao




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